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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA

                     Plaintiff,                                     4:12CR3059

       vs.
                                                         MEMORANDUM AND ORDER
TEO VAN PHAN, NHU VAN PHAN, HOA
VAN HUYNH, KIM NGUYEN, TANG
(JANNY) NGUYEN, THUY NGUYEN,

                     Defendants.


       The government has moved to continue the trial currently set for July 31, 2012. (Filing
No. 68). As explained in the motion, the parties are currently engaged in plea discussions. The
motion to continue is unopposed. Based on the showing set forth in the motion, the court finds
the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)     The government’s motion to continue, (filing no. 68), is granted.

       2)     The trial of this case is set to commence before the Honorable John M. Gerrard, in
              Courtroom 1, United States Courthouse, Lincoln, Nebraska at 9:00 a.m. on
              August 28, 2012, or as soon thereafter as the case may be called, for a duration of
              fifteen (15) trial days. Jury selection will be held at commencement of trial.

       3)     Based upon the showing set forth in the government’s motion and the
              representations of counsel, the Court further finds that the ends of justice will be
              served by continuing the trial; and that the purposes served by continuing the trial
              date in this case outweigh the interest of the defendant and the public in a speedy
              trial. Accordingly, as to all defendants, the additional time arising as a result of
              the granting of the motion, the time between today’s date and August 28, 2012,
              shall be deemed excludable time in any computation of time under the
              requirements of the Speedy Trial Act, because despite counsel’s due diligence,
              additional time is needed to adequately prepare this case for trial and failing to
              grant additional time might result in a miscarriage of justice. 18 U.S.C. §
              3161(h)(1), (h)(6) & (h)(7).

              July 20, 2012.
                                                    BY THE COURT:
                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
